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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA

JERRY ROGERS, JR.,                        *     CIVIL ACTION
         Plaintiff                        *
                                          *     NO. 20-517
VERSUS                                    *
                                          *     JUDGE MILAZZO
                                          *
RANDY SMITH, INDIVIDUALLY                 *     MAG. VAN MEERVELD
And IN HIS OFFICIAL CAPACITY              *
AS THE SHERIFF OF ST. TAMMANY             *     JURY DEMAND
PARISH, DANNY CULPEPER, AND               *
KEITH CANIZARRO                           *
            Defendants                    *
***************************************************************************




            NOTICE OF ATTACHMENT

                  EXHIBIT “B”
                      to
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
    MOTION FOR EXTENSION OF TIME TO SUBMIT
          WRITTEN REBUTTAL EXPERT
